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                      SO ORDERED: October 23, 2023.




                       ______________________________
                       Jeffrey J. Graham
                       United States Bankruptcy Judge




                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

IN RE:                              )
                                    )
NIKQUISA NUNN,                      )           Case No. 23-00041-JJG-7
                                    )
                   Debtor.          )
                                    )
                                    )
NIKQUISA NUNN,                      )
                                    )
                   Plaintiff,       )
                                    )
         v.                         )           Adversary Proceeding No. 23-50023
                                    )
U.S. DEPARTMENT OF EDUCATION,       )
EDUCATIONAL CREDIT                  )
MANAGEMENT CORPORATION,             )
                                    )
                   Defendants.      )
    Case 23-50023      Doc 38     Filed 10/23/23     EOD 10/23/23 13:08:37         Pg 2 of 2




                                         JUDGMENT

        This matter comes before the Court on the Agreed Consent to Judgment filed by

Plaintiff Nikquisa Nunn and Defendant the United States of America, Department of Education

on October 17, 2023 (“Agreed Consent to Judgment”).      The Court, having reviewed the

Amended Complaint and the Agreed Consent to Judgment and the stipulations contained therein

and being otherwise duly advised, now APPROVES the Agreed Consent to Judgment.

       It is therefore ORDERED, ADJUDGED AND DECREED as follows:

       1.     Plaintiff’s federal student loan debt held by the United States, Department of
              Education (the “Student Loan Debt”) is hereby DISCHARGED pursuant to 11
              U.S.C. § 523(a)(8);

       2.     Each party shall be responsible for their own costs and attorney’s fees in resolving
              this matter.


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